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              SCHEDULE A
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                                     SCHEDULE A

                            AUTHORITY FOR THE TAKING


          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved March 23, 2018, as Public Law 115-

141, div. F, tit. II, 132 Stat. 348, which appropriated the funds that shall be used for the

taking.
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              SCHEDULE B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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              SCHEDULE C
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                    Starr County, Texas

Tract: RGV-RGC-1023
Owner: Enrique Garza, et al.
Acres: 4.921

Being a 4.921 acre tract (214,353 sq ft) parcel of land, more or less, being out of a
calculated 13.618 acres, in Porcion No. 61, in Starr County, Texas. Said parcel of land
more particularly described by metes and bounds as follows;

Starting at COE Project control marker S143, having the following NAD83 (2011) Grid
Coordinates N=16714178.62, E=784782.59; Thence N59°43’59”W a distance of 1581.38
feet to a found 5/8” iron rod at the Southeast corner of the Sanchez-O’Brien Oil and Gas
Corporation tract, Volume 699, Page 607, for the Point of Commencement, having the
following coordinates: N=16714975.68, E=783416.78

Thence: S59°19 37”W departing said property line, a distance of 1315.01 feet to a set 5/8”
x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1020-2-2=1023-1,
on the South line of the Sanchez-O’Brien Oil and Gas Corporation tract, Volume 699, Page
607, for the Point of Beginning, having the following coordinates: N=16714304.84,
E=782285.74, said point being on the Eastern boundary of the parcel herein described;

Thence: S36°47'37"E departing said property line, along said Eastern boundary, crossing
the center of an existing 9 foot wide dirt road at 244 feet, crossing an existing barbed wire
fence at 308.62 feet, a distance of 365.26 feet to a set 5/8” x 36” iron rebar and EMC Inc.
3” aluminum cap stamped RGV-RGC-1023-1A for a Point on Line;

Thence: S36°47'37"E along said Eastern boundary crossing an existing barbed wire fence
at 228.82 feet, crossing the center of an existing 9 foot wide dirt road at 241 feet, crossing
an existing barbed wire fence at 253.15 feet, a distance of 365.26 feet to a set 5/8” x 36”
iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1023-1B for a Point on
Line;

Thence: S36°47'37"E along said Eastern boundary to an existing barbed wire fence, a
distance of 365.26 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap
stamped RGV-RGC-1023-2=1045-5 for angle, said point being on the North line of the
Guillermo Castillo Estate tract, Volume 365, Page 749;

Thence: S58°14'36"W departing said Eastern boundary, along said property line, along
said fence, a distance of 210.81 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3”
aluminum cap stamped RGV-RGC-1023-3=1045-4 for angle, said point being on the
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                                  SCHEDULE C (cont.)

Western boundary of the parcel herein described;

Thence: N36°47'37"W along said Western boundary, departing said property line,
departing said fence, crossing an existing barbed wire fence at 452.21 feet, a distance of
477.54 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped
RGVRGC-1023-3A for a Point on Line;

Thence: N36°47'37"W along said Western boundary, crossing the center of an existing 9
foot wide dirt road at 45 feet, crossing an existing barbed wire fence at 229.70 feet, crossing
the center of an existing 9 foot wide dirt road at 252 feet, crossing an existing barbed wire
fence at 264.83 feet, a distance of 477.54 feet to a set 5/8” x 36” iron rebar and EMC Inc.
3” aluminum cap stamped RGV-RGC-1020-2-5=1023-4 for angle, said point being on the
South line of the Sanchez-O’Brien Oil and Gas Corporation tract, Volume 699, Page 607;

Thence: N31°32'53"E departing said Western boundary, along said property line, a
distance of 70.42 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped
RGV-RGC-1020-2-4=1023-5 for angle;

Thence: N18°19'21"E along said property line, a distance of 149.73 feet to a set 5/8” x 36”
iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1020-2-3=1023-6 for
angle;

Thence: N27°17'37"E along said property line, a distance of 24.16 feet returning to the
Place of Beginning.
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              SCHEDULE D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                          SCHEDULE D (cont.)
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                          SCHEDULE D (cont.)
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                          SCHEDULE D (cont.)
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                          SCHEDULE D (cont.)
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               SCHEDULE E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                    Starr County, Texas

Tract: RGV-RGC-1023
Owner: Enrique Garza, et al.
Acres: 4.921

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
       Reserving to the owners of land identified as Abstract No. 283, Porcion No. 61, in
the Ancient Jurisdiction of Mier, now Starr County, Texas, reasonable access to and from
the owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation, and
maintenance of the border barrier.
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                       SCHEDULE E (cont.)
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               SCHEDULE F
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                                   SCHEDULE F

                      ESTIMATE OF JUST COMPENSATION




    The sum estimated as just compensation for the land being taken is FORTY-FOUR

THOUSAND, FIVE HUNDRED AND TEN DOLLARS AND NO/100 $44,510.00, to be

deposited herewith in the Registry of the Court for the use and benefit of the persons

entitled thereto.
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               SCHEDULE G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                              Reference
 The Unknown Heirs of Enrique de la            RGV-RGC-1023
 Garza/Enrique Garza                           Warranty Deed,
                                               Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 The Unknown Heirs of Paula Garcia             Warranty Deed,
 Garza                                         Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 Horacio de la Garza or his Unknown            Warranty Deed,
 Heirs                                         Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 Alberto de la Garza or his Unknown            Warranty Deed,
 Heirs                                         Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 Cornelio de la Garza or his Unknown           Warranty Deed,
 Heirs                                         Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 The Unknown Heirs of Justo de la              Warranty Deed,
 Garza/Justo Garza/Justo Garcia                Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records

 The Unknown Heirs of Julia Cantu: de          Warranty Deed,
 la Garza                                      Document #1936-5847;
                                               Recorded July 30, 1936,
                                               Starr County Official Public Records
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